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Honorable Paul G. Gardephe                                                    SO tiRDiRED·
United States District Judge
Southern District of New York                                                   ~                    .
United States Courthouse
40 Foley Square                                                               Poal G G~~S.D.J.
New York, New York 10007                                                      ~ ..... ~ '· ~ ~I,         ~(J'?
         Re:      Bonwick Capital Partners v. Shineco, Inc., 17 Civ. 3681 (PGG)

Dear Judge Gardephe:

       We are counsel ofrecord to defendant Shineco, Inc. ("Shineco") in the above-referenced
matter. We have been unable to confirm that a representative from Shineco will participate in
the June 22, 2018 conference in connection with our motion to withdraw as Shineco' s counsel.

        As a result, we respectfully request that the conference be adjourned to July 12, 2018 at
10:15 a.m. (or earlier that same day in the event that the Court might be available). Plaintiff's
counsel has informed us that he is available on the proposed date and at the proposed time. We
will endeavor to ensure that a representative from Shineco, which is located in China,
participates by telephone in the conference.

                                                        Respectfully yours,

                                                        ls/Clark A. Freeman

                                                        Clark A. Freeman

cc:      All Counsel of Record (Via ECF)




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